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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                 Case No.: 4:08-CR-027-SPM

TOREY C. WALKER,

             Defendant.

_________________________________/

                          ACCEPTANCE OF GUILTY PLEA

      PURSUANT TO the Report and Recommendation (doc. 48) of the United

States Magistrate Judge William C. Sherrill, to which there have been no timely

objections, and subject to the Court’s consideration of any Plea Agreement

pursuant to Federal Rule of Criminal Procedure 11(e)(2), the plea of guilty of the

Defendant, TOREY C. WALKER, to Counts One, Two, and Three of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE AND ORDERED this fifteenth day of August, 2008.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
